          Case 1:17-cv-06760-VSB Document 53 Filed 07/16/18 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                    7/16/2018
 ANTHONY BONCIMINO,
                  Plaintiff,
                                                                 17-CV-6760 (VSB)
              -against-
                                                                      ORDER
 NEW YORJ STATE UNIFIED COURT
 SYSTEM, ET AL.
                    Defendants.


VERNON S. BRODERICK, District Judge:

       It is hereby ORDERED that this case is referred for mediation to the Court-annexed

Mediation Program for settlement purposes. The parties are hereby notified that Local Rule 83.9

shall govern the mediation and are directed to participate in the mediation in good faith. The

mediation will have no effect upon any scheduling Order issued by this Court without leave of

this Court.

SO ORDERED.

Dated: July 16, 2018
       New York, New York
